UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 RUIZHENG AN,

                      Plaintiff,                   Index No. 1:20-cv-06555-MKV

               v.
                                                   RULE 7.1 DISCLOSURE STATEMENT
 GTV MEDIA GROUP INC., A DELAWARE
 CORPORATION, SARACA MEDIA
 GROUP INC., A DELAWARE
 CORPORATION, WENGUI GUO,

                      Defendants.



       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant GTV MEDIA

GROUP INC. (“GTV”) hereby identifies its parent corporation and any publicly held corporation

owning 10% or more of its stock as follows:

       Saraca Media Group Inc., a privately held corporation, owns over 84% of GTV common

stock. No publicly held corporation owns 10% or more of GTV’s stock.


 Dated:   New York, NY                        Respectfully submitted,
          October 5, 2020
                                              WALDEN MACHT & HARAN LLP


                                      By:
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                                              and Saraca Media Group Inc.




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